 8:04-cr-00082-LSC-TDT Doc # 68 Filed: 07/21/05 Page 1 of 1 - Page ID # 219
                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           CASE NO. 8:04CR82
                                            )
                    Plaintiff,              )
                                            )                     ORDER
      vs.                                   )
                                            )
FRANCISCO JABIER VELASQUEZ                  )
                                            )
                    Defendant.              )

      This matter comes on to consider the government’s motion for reduction of sentence
pursuant to Rule 35(b) and request for hearing (Filing No. 64). Having considered the
matter,
      IT IS ORDERED that:
      1.     The government’s request for hearing, Filing No. 64, is granted.
      2.     A hearing on the government’s motion for reduction of sentence pursuant to
             Rule 35(b) has been set before the undersigned United States district judge
             on Thursday, July 28, 2005, at 8:30 a.m. in Courtroom No. 2, Roman L.
             Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
      3.     Counsel for the defendant, if previously appointed pursuant to the Criminal
             Justice Act, is reappointed to represent the defendant for purposes of the
             Rule 35(b) motion. If retained, counsel for the defendant remains as counsel
             for the defendant until the Rule 35(b) motion is resolved or until given leave
             to withdraw.
      4.     The Court has been advised the Defendant wishes to be present for this
             hearing and advises the U. S. Marshals Office that the Defendant is
             currently being held at the Cass County Jail.


      Dated this 21st day of July, 2005.
                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                United States District Judge
